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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA

 In Re: Vioxx                                 *
 Products Liability Litigation                *
                                              *
 This Document Relates To:                    *    MDL No. 05-1657
                                              *
                                              *    JUDGE FALLON
 Ann M.G. Albright, et al.                    *
 v. Merck & Co., Inc.                         *    MAGISTRATE JUDGE
                                              *    KNOWLES
 No. 06-2204                                  *
                                              *
 Only with regard to:                         *
 Alfreda Alexander, Rita Bieznieks,           *
 Judy Billing, Leroy Billing, Josephine       *
 Jones, Ulysses Jones, Paula McIntosh-
 King, Robert King, Marlene Morrison,
 Glenn Morrison, Judith Odom, Leon D.
 Odom, Dolores Palmer, Helen Pertee,
 Sarah Roberts, Sabina Sacco, Neva
 Sands, Roberta Soprano, Arlene
 Saufenberger, Helen Tibus and Betty
 A. Williams

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                        ORDER OF DISMISSAL WITH PREJUDICE

               Plaintiff Alfreda Alexander, Rita Bieznieks, Judy Billing, Leroy Billing,

Josephine Jones, Ulysses Jones, Paula McIntosh-King, Robert King, Marlene Morrison, Glenn

Morrison, Judith Odom, Leon D. Odom, Dolores Palmer, Helen Pertee, Sarah Roberts, Sabina

Sacco, Neva Sands, Roberta Soprano, Arlene Saufenberger, Helen Tibus and Betty A. Williams

and Defendant, Merck & Co., Inc. hereby stipulate, pursuant to Fed. R. Civ. Proc. 41(a)(1), to a

dismissal with prejudice all of claims against Merck & Co., Inc. and all other defendants in the

above-styled lawsuit, each party to bear its own costs.



                                                                                            948143v.1
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   NEW ORLEANS, LOUISIANA, this ____ day of ________________, 2008.



                                        _______________________
                                            DISTRICT JUDGE




                                                                      948143v.1
